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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:giulianivcoomerno24sc317march17,2025"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Michelle Malkin; Eric Metaxas; Donald J. Trump for President, Inc.; Joseph Oltmann; FEC United; Shuffling Madness Media, Inc. d/b/a Conservative Daily; James Hoft; and TGP Communications LLC, d/b/a The Gateway Pundit; and Petitioner:&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Rudolph Giuliani&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioners&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Respondents&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Eric Coomer, Ph.D.&lt;/span&gt; &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC317&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;March 17, 2025&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="407" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="407" data-sentence-id="424" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_424" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;Case No. 22CA843&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="464" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="464" data-sentence-id="487" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;DENIED &lt;span class="ldml-entity"&gt;PETITIONS FOR WRIT&lt;/span&gt; OF CERTIORARI&lt;/b&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="527" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="527" data-sentence-id="543" class="ldml-sentence"&gt;Petitions
 and &lt;span class="ldml-entity"&gt;Cross-Petition for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
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